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UNITED STATES BANKRUPTCY COURT
District of Massachusetts
PDF FILE WITH AUDIO FILE ATTACHMENT

     2016-01120
     Lyman-Cutler, LLC v. Kagan et al



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     Case Number :                   2016-01120
     Case Title :                    Lyman-Cutler, LLC v. Kagan et al

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